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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

RICHARD PITTMAN, et al.,

      Defendants.                                      Case No. 05-CR-30133-DRH


                                       ORDER

HERNDON, District Judge:

             This matter is before the Court on defendant James Rollins, Jr.’s

Motion to Continue Trial Setting. (Doc. 163.) Defendant Rollins, Jr.’s motion states

that his counsel only entered his appearance on behalf of defendant Rollins, Jr. on

January 26, 2006. (Id. at ¶ 1.) Further, defendant Rollins, Jr.’s counsel has not had

sufficient time to obtain and review additional discovery, due to scheduling conflicts.

(Id. at ¶ 2.) The Government does not object to Defendant’s Motion. (Id. at ¶ 3.)

             The Court finds that pursuant to 18 U.S.C. § 3161(h)(8)(A), the ends

of justice served by the granting of such continuance outweigh the best interests of

the public and Defendant in a speedy trial.         Therefore, the Court GRANTS

Defendant’s Motion to Continue. (Doc. 12.) The Court CONTINUES the jury trial

scheduled for Monday, March 13, 2006 at 9:00 a.m. to Monday, June 26, 2006, at

9:00 a.m. The time from the date the original motion to continue (Doc. 163) was

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filed, March 1, 2006, until the date to which the trial is rescheduled, June 26, 2006,

is excludable time for the purposes of speedy trial.

             IT IS SO ORDERED.

             Signed this 2nd day of March, 2006



                                                       /s/        David RHerndon
                                                       United States District Judge




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